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UNITED STATES BANKRUP”[`CY COUR"I` I*Iear§ng Date: l\/lay 23, 2018

EASTERN DlSTRlCT OF Nl§W YORK Heaz"ing 'l`ime: 9:30 a.m.
_____________________________________________________ X
lN RE: CASL§ NO.: lS~?lOZS-reg
lewel L. Butler, Chapter: 7

DEBTOR. JUDGE: ROBERT E. GROSSl\/IAN
_____________________________________________________ X

NOT!CE OF l\/I()'I`I()l\T I<`OR ()RDER
GRANTING RELIEF FROM AUTOMATIC STAY

SlRS:

PLEASE TAKE NOTICE that Se§ene Finance LP ("l\/lc)vant") Seel<s relief from the
automatic Stay as to the property located at 46 Hidridge Avenue, Hempstead, New Y<)rk l 1550
(the “Premises"') and will move before the lelonorable Robert E. Grossman, United Slales
Bankruptcy .ludg,e in the United States Banl<z'uptcy Court for the Eastern District cf l\lew Yorl<
located at Long lsland liedera§ Courthouse, 290 liederal Plaza, Coui'troom 860, Central lslip, NY
11772 On l\/lay 23, 2018 at 9:30 a.m., or as Soon thereafter as counsel may be heard, for an Order;

l. Pursuant to Bankruptcy Rule 4001, l l U.S.C. Section 362(d)(l) and l l U.S.C. Sectic)n
362(d)(2) granting Movant, its Successors and/or assigns`_ relief from the Automati<: Stay; and

2. Granting Movant Such other and further relief as is just and proper.

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PLEASE TAKE FURTHER NOTICE, that objectionsz if any, to the relief herein

requested shall be in writing, shall state with particularity the grounds for the objection, shall be

tiicd with the Clerk oi` the Banki‘tzptcy Court and served upon, the undersigned counsel for the

Movant seven (7) days prior to the return date ol` the within l\/Iotion.

I)ated: Apri127, 2018
Plainview, New Yori<

To:

.lewe§ L. Butler
Debtor

46 Eldridge A\/enue
llcinpstead, NY 11550

l\/Iichael J l\/Iacco, Esc§.
Attorney for Debtor

2950 Express Drive South
Suite 109

lslandia, NY 11749

Andrew M Thafer, Esc;.
Trustee

675 Old Country Road
Westbury, NY l 1590

U.S. Trtistee

United States Trustee

Long lsland Federal Courthouse
560 Federal Plaza - Room 560
Central lslip, NY 11722-4437

Respectfally submitted

ROSICK§, ROSICKI & ASSOCIA"I`§§£S, P.C.
By: Seung Woo hee, Esq.

Attorneys for Movant

l\/Iain Ot`t`ice: 51 East Bethpage Road

Plainview, NY 11803
516»741~2585

 

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UNITED STATES BANKRUP'fCY COURT
EAS'I`ERN DlSTRlCT OF NEW YORK

_______________________________________________________ X
IN RE: CASE NO.: 18-71028-reg
.lewel L. Butler, Chapter: 7
DEBTOR. JUDGE: ROBERT E. GROSSMAN
_______________________________________________________ X

APPLICATION IN SUPP()RT ()F AN ()RDER
M()I)IFYING AND TERMINATING THE AU'E`OMATIC STAY

TO: THE HONORABLE ROBERT E. GROSSl\/IAN
UNITED STATES BANKRUPTCY JUDGE:

'i`he Application of Selene Finanee LP ("l\/lovant"), by its attorneys1 Rosic§~'.i, Rosicki &
Associates, P.C., respectfully represents and says:

Seung Woo Lee, Esq., an attorney at law duly admitted to practice before this Court and
the Courts of the State ofNew York, hereby affirms the following to be true under penalty of
perjury:

l. RELIEF REOUESTED

1. This is a contested matter brought pursuant to Federal Rnles of Bankruptcy Procedure
Rttles 4001, 9013 and 9014 and Sect§ons 361, 362(`d) of fide 1 l ofthe United States Code (the
"Bankruptcy Code"), for an Order: (i) granting l\/lovant, its successors and/or assigns, re§ief from
the automatic stay due to the failure of lewel L. Butler (the "Debtor") to make payments, and/or
offer and provide Movant with adequate protection for its security interest in the property §ocated
at 46 Eldridge Avenue, Hempstead, i\lew York l 1550 (the “Premises"`); and (ii) granting l\/lovant
such other and further relief as isjust and proper.

II. BACKGROUND
2. Movant is the owner of a Note and l\/iortgage, dated Novernber 26, 2002, given by

Jewei L. Butier (the "Debtor") in the original principal amount of 3228,E97.00 pledging the

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Premises as security. Copies of the Note, endorse to blank, l\/lortgage and Assignments are
annexed hereto as Exhibit "A".

3. As the loan became delinquent, l\/iovant commenced a foreciosure action in the
Suprerne Court of the State of New York, County of Nassau, on or about May l, 2012. On
September 6, 2017, a Judgment of Foreclosure and Sale (the "iFS”) was entered in favor of
Movant. A copy of the JFS is attached hereto as Exhibit “B”.

4. Pursuant to the terms of the .IFS, a foreclosure saie was scheduled for February 20,
2018. On fiebruary 16, 2018, the Debtor filed with the Clcrk of this Court a petition for reiief
under Chapter 7 of the Bankrnptcy Code, 'fherefore, staying the i\rlovant from proceeding with
its JFS.

III. THE APPLICATION

5. As required by E.D.N.Y Adrninistrative ()rder #533, the completed motion for relief
Worksheet (the “Worksheet”) is annexed hereto as Eixhibit i‘C".

6. Based upon information provided by l\/lovant, the Debtor is in contractual default
under the terms of the l\lote and Mortgage for failure to make timely payments in the amount of
32,674.64 each for the Noveniber 1, 2009 through the l\/larch l, 2013 payments; $4,443.86 each
for the April I, 2013 through the July 1, 2013 payments; $3,761.37 each for the August l, 2013
through the lilly 1, 2014 payments; $3,087.53 each for the August 1, 20§4 through the Gctober
1, 2015 payments; 583,009.98 each for the November i, 2015 through the April I, 2018
payments, and the loan is contractually due for Novernber i, 2009.

7. That by failing to make mortgage payments, the Debtor has failed to provide Niovant
with adequate protection for its security, entitiing l\/iovant, its successors and/or assigns, to relief
from the automatic stay.

8. Additionaliy, there is insufficient equity in the Premises.

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9. l\/iovant’s total lien on the Preinises as of the date of the within application is
approximately $503,201.73.

10. According to the Debtor, the Premises has an estimated value of 3195,000.00. A
copy of the Debtor’s Schedule A/B, is annexed hereto as Exhibit “D"`.

1 1. Based upon the above, no equity exists in this Premises and it is not necessary for the
Premises to be maintained by the estatel Consequently, l\/lovant is entitled to relief from the
automatic stay so that it may proceed with the enforcement of its security interest in the
Premises.

12. F or the reasons stated above, the Debtor has failed to adequately protect the interest
of l\/iovant, causing i\/lovant irreparable harm and injury.

i."). Additionally. by seeking re§ief under Chapter 7, Debtor is not seeking to reorganize
and thus, the Prernises is not necessary for a successful reorganization 'l`heref`ore, relief from
stay is warranted pursuant to Section 362(d)(2).

IV. CONCLHSION

14. Relief from the stay is warranted under Section 362(d). Accordingly, the automatic
stay must be modified to permit i\/lovant to assert its rights in the i’remises, including but not
iimited to, the consummation of a foreclosure sale and eviction proceedings with respect to the

Premises.

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WHEREF()RE\ l\/iovant respectfully requests that an Order be granted modifying the
automatic stay as to it_. its successors and/or assigns, permitting maintenance of a mortgage
foreclosure action and eviction proceeding with respect to the Premises; and for such other and
further relief as the Court may deem ljust and proper.

Dated: Apri127._ 2018
Plainview, New York

Respectfuily submitted_.

/%€:'>

ROSICKI, ROSlCKl & ASSOCIATES, P.C.
By: Seung Woo Lee, Esq.

Attorneys for Movant

Main Office: 51 East Bethpage Road
Piainview, NY 11803

516~74i»2585

 

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UNITED S'l"A'i`ES BANKRUPTCY COURT
EASTERN DiS'leCT OF NEW YORK

_______________________________________________________ X
iN RE: CASE N().: 18-71028-reg
Jewel L. Btttler, Chapter: 7

i)iiBTOR. .1UDG1€; ROBER”I` E. GR()SSl\/IAN
_______________________________________________________ X

ORDER GRANT{NG RELIEF FR()M THE AUT()l\/EATIC STAY

Upon the Application, dated Aprii 27,.l 2018 (the "Application") of Selene i"inance 1`_11’
(the "l\/lovant"), by its attorneys, Rosicki, Rosicki & Associates, P.C., seeking an Order: (i)
modifying and terminating the automatic stay to permit the l\/iovant to exercise all of its rights
and remedies with respect to certain coilateral consisting of the real property known as 46
Eidridge Aventte, Hernpstead, New York t 1550 (the "1’remises"); and (ii) granting l\/lovant such
other and further relief as the Court deems just and proper; and

The Application having come before this Court to be heard on May 23, 20i8; and no
opposition to the relief requested having been heard; and in consideration of the foregoing, and
upon the affidavit of service iiied with the Court, the record made at the hearing on the
Application and the decision reached at the conciusion thereof; and after due deliberation, the
relief requested appearing reasonable, proper and warranted in fact and by law under Section
362(d)(1) and Section 362(d)(2) ofthe Code to permit Movant to exercise all of its rights and
remedies under applicable law with respect to the Prentises, it is hereby

()RDERED that the Application of Movant is granted modifying the automatic stay to
aliow Movant, its successors and/or assigns, to pursue any and ail action and to exercise its
remedies as to the property known as 46 Eldridge Avenue, Hempstead, New York 1i550; and it

is further

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ORDERED that in the event a foreciosure sale of the concerned Premiscs results in a

surplus, the Case Tt`ustee shall be notified

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eAs'raaiv ois'riucror Naw Yotti_<_. _

I`N RE:
Jewel L. Butler

Debtor.

NOTICE ()F MOT}ON AND APPLICATION
IN SUPPORT ()F EN"I`RY OF AN ()RDER VACATING STAY

R()SICKI, R()SICKI & ASSOCIATES, P.C.
Attorneys for i\/lovant
Main Office: 51 East Bethpage Road
Plainview, NY 11803
516-741-2585

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Ul\il'i`i§f) SfA"fES BANKRUP"I"CY COURT
EAS'i"ERi\i DISTRICT OF NEW YORK

 

....................................................... X
ii\l RE: CASE NO.: 18-71028-reg
Jewel L. Butler, Chapter: 7

DEBTOR. AFFIDAVIT OF SERVICE
_______________________________________________________ X

S'I`ATE OF NEW YORK )
) ss:
COUN'i`Y OF NASSAU )

Alicia l\/lcNamee, being duly sworn, deposes and says:

i am not a party to this action, am over 18 years of age and reside in Suffoik County, i\lew
York_

On April 27, 2018, l served the within Notice of l\/lotion, i\/iotion for l\/lodification of the
Automatic Stay on the following parties, by depositing a true copy thereof in a post-paid
wrapper, in an official depository under the exclusive care and custody ofthe U.S. Postal Service
within New Yori< State, addressed to each of the following persons at the fast known address set
forth after each narne:

.1ewel i,. Butier
46 Eidridge Avenue
Hempstead, NY 11550

Michaeli i\/lacco, Esq.
2950 Express Drive South
Suite 109

lslandia, NY 11749

Andrew 1\/1 Thaler, Esc;.
675 Oid Country Road
Westbury, i\lY 11590

U.S. Ti'ttsiee

United States Trustee

Long island Federai Courthouse
560 liederal Plaza - Room 560

central isiip, NY 11722_4437 W /)/W_/t//

Alicia l\/lcl\iamee

 

Sworn to bef re m this
C§"l___ day of . , 2018

grieth

Norit(av austin

F. Tarr
uaw pub\tc,étate ot New YO¥K
No. 01 7 ,~. ,
amy ‘ Nassau Gou '
mm Exgi?sigeoember B. _,..n.t&l§’ 1

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NOTICE OF M()TION C()VER SHEET

NAME OF DEBTOR CASE NUl\/IBER

.iewel L-. Butler i8~7i028-reg
PLAINTiFF/MOVANT Dl§l*`ENDANT/RESPONDlENT
Selene Finance iiP
AT'TORNEYS A'l"'l`ORNi§\/S iF KNOWN
Rosicki, Rosicki & Associates, P.C. Michael 1 i\/lacco, i`:`,sq.
51 East Bethpage Road 2950 f:lxpress Drive South
Plainview, NY 11803 Suite 109

islandia, N Y 11749

PRI`NT NAME OF Ai"i`ORNl§Y SiGNA'l"…
Seung Woo Lee. Esg.

NA'l"`thE OF SUIT
(Check all Boxes "i`hat Apply to This i\/iotion)

X 'i"o Grant Relief from the Automatic Stay
11 U.S.C. Scction 01`362(<1) (_5181.00 fcc required)

 

To Withdraw the Reference ofa Case
11 U.S.C. Section 157(d) (375.00 fee required)

'i`o Compel Abandonment ofProperty
of the Estate 1 B.R. 6007 (b) (575.00 fee required)

fo Convert (fee not required)

rfc Dismiss (fee not required)

To Assume/Reject (fee not required)

fo Extend 'fime to Object to Discharge/Dischargeability
To Extend Exclusivity Period to File Pian, Etc.
Ohjections to Claims

For Summary .ludgment

Other~ Specify Type of l\/lotion

 

FlislNG lil";`E (Check One) i"ee Attached X Fee Paid Online

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ROSICKI, ROSICKI & ASSOCIA TES, P. C.
A TTORNE YS A T LA W
Mnin Ojj‘ice: 51 East Bethpage Road
Plainview, New York 11803
Tel'ephone (516) 741-2585
Fr.-csi`mi!e (51 6) 8 73- 7243

We are ri debt c‘o.'lector oim' ore attempting to collect o dean

Aii_i' information obtained iiiri_r be crsei!jor dmi purpose

April 27_, 2018

United States Bankruptcy Court

Eastern District ofi\iew York

271 Cadman Plaza East

Brooklyn, NY 1i201

Re: Debtor: Jewel L. Butler

Bankruptcy Case l\io.: 18-71028-reg
Chaptei‘ 7

Dear Sir or i\/Iadam:

Enciosed herewith piease find one Chainbers Copy of a i\iotice of Motion and Motion for
l\/iodification of the Automatic Stay. The appropriate filing fee in the amount of 8181.00 has
been paid online.

Piease file this motion with the Court as it is scheduled for hearing on l\/lay 23, 20i 8 at 9:30 a.m.;
Your assistance is greatly appreciated

\/ery truly yours,

Rosicki, Rosicki & Associates, P.C.

aim horace

Alicia Mcl\lamee
Paralegai

 

Ericlosures

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UNITED STATI£S BANKRUP'[`CY COURT
EAS'E`IERN DlS"l`RfC'l` OF NEW YOR_K _

IN RE:
.lewel L. Butler

Debtor

()RDER GRA§\FT}NG RELIEF FR()M
THE AU'I`()MATEC STAY

ROSiCKI, R()SECKI & ASS()CIATES, P.C.
Attomeys for l\/Iovant
l\/Iain Ol"l`lce: 51 iiast iBethpage Roacl
Piainview, NY l l803
516»741-2585

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Exhibit “A”

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a

  
 
 

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351 m ttw watt 61 WNFW Mm“°]

.‘i. PART]ES hai m w mw %

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Gol`§§n B';i.rm;' Nprt:gage Coz:p . _
and its' success&)rs and wign.s.

2. BORROWER’S PRCIMISE '1.`0 PAY; INTERESI‘
In mm for a lam mcde from Lwdar, Borrowcr promises to pay tthximipal sum of

TWO HUHDRED TWRNT¥ EIGHT THGUS.RND ORR HUNIHZRD NI'NETY SEV'EN & OUflGQ

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pm( 'I.MJD %)paryearumil€im£uiimnomuofpfimipalhaabecnpaid.

3. PROM!SE TO FAY SECDRED

mirrost promise to pay is seemed by a mangage, deed of misc or similar semity instrument that is dated die mm dam as
wis Not¢: and called the "Security lnstrumzm." 'I`he`Scmnizy lmmmi¢m games the tender from losses which might result if
Borrowcz defaults under this Nota.

4. MAMR OF PAYMI$`.NT

(A) T`:me
Bormwer shall make a payment of principal and interim to LGder nn the inst day of each mm beginning on
Janimry l _ 2003 . An‘y principal and mmc remaining an the am day of Dacamber ,
2632 , will be dam on diaz dam which is called the "Mamrity Da:e.'
(B) le¢
Faym¢m shall be made atGoldem F:Lrst‘. mortgage Corp . , cna Hunt.:ington Quad::angle, Suir,e 3c01 ,
vslville, Hew Yortc 1174'7 or m smh'p!a;:c as limch may designs in writing
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will bc part of a larger monthly payment required by th:: Swariry Iastmm¢m, that await bo applied co primipai, interest and amer
items 111 the order described in tim Sccu:ity hmwmm.
G)) Al£ange. to this Ncrte for payment adjustments
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er¢:. [Clm:.k applicable bcx]

l:laradumd wyman Aumg¢ l:lcmws:g amy manage l:iorh=r tsp¢¢iry;

5. BORROWER’S RIGHT TO PRE¥’AY

Bom)wer has the right w pay the debt evidenced by this Nom, in whole ar in pan, without charge or many on the § ; da
of stay monte lender shall accept pittmij on other days provided that B<mower pays interest on the §muun: prepaid ;‘;r Lh;
remainder of the mos_ltlx m the extent required by hinder and permitted by mgula£ians of the Sact‘emry\ ff Bormwer makes a paniai
prcpaymenz, there will be an changes m the due date or in the annum af the monme paymcm unless bender agrees in writing ca
those deanges.

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G.BORRQWER'.°,FAH.LMETOPAY wl .\ 1 ..",
(A) have Charge for overdue Paymcnts '; '- .~ ‘- -'\_".'.1`.»

ff Lcndc.r has not waived die full monthly mm required by file Sc-cun'£y lmrmmcz::. as described in Pa:ég,raph 4{(,')

of this N¢)£::, by she cal of ama calendar days after the ;mysxl¢m is due, I..:mdm amy collect a late charge ln me amount of
rosa pcmem( 4 . 00 %) of am ovmhm am of each paymcan.
{B} I)afault_

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me Secrctary in the misc of mm amal:s, rcquim immediate payment in flxll of me principm balance rmdzing dnc and all
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many circ:.mismnc.ea regulations issued by lk¢»Swrcta:y will limit llcmlcr`s righzs m req}iirc mine payment in full la tim case
of Wm¢m' defaulzx. 'Ihis Nm¢ docs not milwach acceleration wth net georri.:wd by HUD regulation As um in twa Now,
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7. WAWRRS .
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8. GIVING OF N{)'l`ICl§S
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9. OBLIGA’I'IGNS OF PER.SGNS UNDER 'I’H¥.S NOTE.

lf mere than one person signs Lhis ch:., each person is fully and pcr:‘¢<maily obligated lo keep all oi"~r.hc promises made in this
Nalc, including the promise repay the full amount owcrl. Azxy mean who is a guaranbor, surety 01 endorser of this Notc is also
obligated w do these things. Axxy person who takes over ma obligacions, irwlucllng die obligations of a gimmlm, surety or
moran of this Nol.»:., is also obligamd w lamp all of trw pmmises made in this Noxc, Lcmlmr may enforce ins ngth under this Noee
agdimc each person individually or agains: all signam:ics wgc£lm. Azzy cmc pcc's>oa signing this Nocc may be required co pay all or
the amounts owed under lhis`l\lote_

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' y y (S€al} »

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FORM § 753

 

Mort_gagczr‘: JBWEL L BUTI.»ER

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mP‘s'rEm, uaw Yorl< 115`50

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app¢amd m L_ wmata

personally knows co mc or proved 10 me on the basis of satisfactory evidence co be the individual(s) whose Ms) is.
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which me individuai{_s) acce=d.`, executed thc inmmmc.

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tied in
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NASSAU COUNTY CLERK’S OFFICB
ENDORSEMENT COVER PAGE

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Refers.to: Book: H 23263 Page: 110

Location: Section Block Lot Unit
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HEMPSTEAB (2820} 0034 00363-00 00232
HBMPSTBAD (2820) 9034 00363~00 00233
Taxes Total .OD
Recording'Totals 205.00
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THIS PAGB IS NGW PART`OF THE INSTRUMHNT AND SHOULD NOT BE REMCVED
MAUREEN O*CGNNEhL
COUNTY CLERK

 

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' SECTEON'. 5034
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Form 852\*~Am’g1memoi` Mc»rtgage without Cc>vcnan:-

fndividual or Co:‘pu:a!ion (Singic_$!wci)

CONSUL'I` YOUR l.AWYIv;R BEFORE SIGNING 'I`HIS HVSTRUMENT~
TH£S INSTRUMENT SElOUI_,D 85 USED B\’ LAWY‘ERS ONLY.

 

KNO'W THAT

COVERNMENT NATIONA.L MURTGAGE ASS()CIA'I`ION, GUARANI`OR FQR LEADER
!"INANC_L§L SERVICES.=A_BIVI`SION OF AMERICAN NATIONAL BANK, o cprp€a*mion
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is 5610 RIDGE ROAD, PARMA¢ 03_44129`

assignee

in consideration aim AND emma noLLARs' ;s'le.oo) and mm good and mume.¢msid¢mion,
paid .by

LOANCA.RE, ADI\"‘{SION OF FNF SERVICING. lNC..-n corpvramm winn principal piano
of business is 363'} Smfam Way, Virgim¢ Beach, VA 23452
§5553¥1°¢»

hmby migns now :hc` usigue_e, a remain Mnngage dated Ncrv:mhcr 26, 2901 made berEWEL l.
BUTLER m GOLD:~;N 'Fms'_r MGRTGAGE C_oRP. in me principal wm of $223 197.00 m resumed cm
Denembcr 9, 2002 in LiberfR.ncl M 23263 of Mortgagos, FachQm l19 in :Ec U'i‘mc of the Cieric of the
Coim!y o§"Na!L*-au mering prmnim§'@i§§m m 46 ELDRIDOE AVE, HER&PSTEAD, NY l 1558 which
mwtgr.g`gs was assign¢d tm L§ADER FfNANCIAL SBRV¥CES, A DWISION OF AMER.{CAN
NAT!ONAL BANK by assignment dated December 13. 2067 and manded on iauuary’.l, 2008 in E.s`bcr
M 32327, Page 293-291

Pmum: co Seccion 32: of:ho Rea! Propmy Law, said mortgage has not been further assigned.

'I'his assignment is not subject w the mqu§ren'rents ofSccxion 275 of thc Rea.f P'mpeny an because ix is
an assig:ment within the.socondm~y moan markct.

§`OGE."I“HER with the bond or now or ob[ignti<m described in said mongage,`and she moneys due and m
grow due thereon with the in\ewsl; TO HAVH A.ND '1`0 HOLD the same unto dre`assigm:e and m the
wcmso[s, fcgnf representatives and assigns of Lhe assignee forever.

`Usc word "assignor‘ or ”assignec' shall b¢ wnsmmd as if it read "asaignor_s" or "assignecs" whenever tim
sense of this instrument so raquires.

I)A'renz q 94 §§ ii come Naximz Mm;gng¢ Aswcws¢m,
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and {4)by LonnCaz~o, n D{vlsion of {"']‘*¥F
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Assignmcnt of M<mg,agc
Wi!hou: Covem\nt

TH`LE NO.

 

GOVERNMEN`T NAHONAL
MORTGAGE ASSC)C!A'I`ECN

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I,oanCare, a Division of FNF Scrvicing, [nc,

 

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COUNTY OR 'I'OWN: Na.ss;m
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AVE, HEMPS'I`BAD, NY 11559

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CJO Rosicki. Rosicki, and Assr)ciates, P.C.

51 E Bethpage Road
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HOUSTON. TX 77042

 

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§Ml

A certain mcngage dated Novcmbcr 26, 2002 made by }IZWEL L BUTLER to GOLDEN FIRST
MORTGAGE CORP. in the principal sum of$lz£.!Q?.OO and awarded Dcccmbcr 9. 2062 in
Libcr M 23263 Pag¢ f 10 irs thc office of the c§erk in the County ofNassau.

Sa.id mortgage was assigned from GGLDEN FZRST MORTGAG£ CCRP. to LENDER
FINANCIAL SERV{CES, A DW!SION OF AMERICAN NATIONAL BANK by an
assignment ofm<)n.gagc dated Sep£cmbcr %, 2(30? and mccrdod Jannary 3, 2008 in Libcr M
32627 Pagc 291.

Sa€d mongage was frth assigned from GOVERNMENT NATI{}NAL MOR'I`GAGE
ASSO€}ATION {“GNMA") AS GUARANTOR FOR LEADHR FINANC!AL SERVICES, A
DIVlSlON OF AMERICAN NAT}ONAI.. BANK so LOANCARE, A DIV!S!ON OF FNF
SERVEC!NG, I'NC. by an assignmenlcl` mortgage dated Sez:tembcr 21, 201€ and recorded
.lanuary 29. 2013 in Libcr M 3823$ Page 700.

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Exhibit “B”

Case 8-18-71028-reg Doc 12 Filed 04/27/18 Entered 04/27/18 15:19:02 __ __

  

PRESENT:

Hon./<\'~Q-WQ§ g gob""\§l

Justice

SUPREME COURT OF THE STATE OF N`EW YORK
COUNTY OF NASSAU

-Part’: _ §, of`the Supreme Cow*t Of the
State of New X’oi'k, held in and for
the Coumy of Nassau, at the
Courthou.sc thereof located at 160=
Sopreme Coux't Bri-ve, Mineola, New
York 11"501, on the _M__ day of

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SELENE FINANCE, LP
Plaintiff,
-agoinst-

J_EWBL L BUTLER; ADVERL!GHT COLLECTIONS,
INC; ALLIANCE FUNDING, A DIVISION OF
SUPER._IOR BANK; CITIBANK SOUTH DAKOTA,
NA; DISCOVER BANK; "J{)HN DOES" AND "}ANE

" DOES", said names being fictitious, parties intended

being possible tenants or occupants of premises and
corporations, other entities or persons who have, ciaim,
or may claim, a lien against, or other interest in, the
premises;

Defendants.

 

ON the Summons_, Complaint and Notice of Pend

lndcx No.: 5530/12

JIH)GMENT OF
FORECLOSURE ANI) SALE
Premiscs Address:
46 EL`DRIDGE AVE.
HEMPSTEAD, NY 11550

x
c y duly filed in this action in the

office of the County Clerk of the County of Nassau on May 1, 2012, the renewal notice of

pendency filed Apri129, 2015, the affidavits of service of the Surnmons end Compiaint, upon all

ofl the defendants, all of which were duly filed with the County Clerk’s office in this action

brought to foreclose a mortgage upon real peoperty situate within the zenitorial jurisdiction of

this Court; the defendant fewel L. Binier having served an Answer to the complaint; Discover

Bank having served a notice of appearance and waiver and all other defendants having defaulted;

a Noze of ISsue having been fiicd;

;L

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WHER;EAS, a nonjury trial having been held on A:g_nst 8, 2016 before Hon. Edward A.
Maron, and upon the testimony and exhibits an oral decision was made on August 8-, 2016 by
Ju`s\tice Maron finding that plabitiff established the required elements for a ludgment of
Foreclosure and Sale and is entitled to a Jndgment of Foreclosure and Sale for the sums stated in
the record,

'NOW, on motion ofROSICKI, ROSICKI & ASSOCIA'I`ES, P.C., attorneys for planitifi`,
it is
ORDERED, ADJUDGED AND DEC:REED, that the plaintifl‘s application for a
i;dgrnent of foreclosure is hereby .g_ranted; and it is further l

OR-})ER§D, that paragraph 5 of the complaint and the¢notices of pendency be deemed
corrected nunc pro tunc to May I, 2012, to state that the assignment of mortgage to leader
Financial Ser'vices, A Division of Amen'ca National Bank was dated Decetnbe\r 13, 2007 in
accordance with the certified documents submitted at u'iai; and it is timber

ORDERED, that pursuant to the plaintist second cause of action, and the documents
submitted at trial, which established the plaintiffs mortgage is a purchase money mortgage
plaintiff’s mortgage is superior to the mortgage made by Nicole Thomas to Lincoln Equities
Credit Corp. in the amount of §247,500.00 dated May 9, 2000 and recorded June 22, 2000 in
Nassau County at Liber W§]G:rit page 354 and thereafter assigned to defendant Alliance

Funding, A £)ivision of Superior Bank by assignment dated March 15, 2001 and recorded in

Nassau County on February 27, 2002 in Liber 2i9?9 at page 390;{ m,c,,g` g `{_7 § 51 M

ORDERED, that the caption is amended by substituting Selene Finance LP as the

plaintng and it is further

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Ordered that the referee al the time ot` the

sale may accept a written bid lrom the
plaintil`t`or plaintiti`s attorney just as though the
plaintitt`were physicntl_v present to submit

said bid; amd lt is lumber

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ORDER‘ED that the caption is further amended by striking therefrom the names of the
remaining "JCHN DOI:_`.S" and "JANE DOES", such names being fictitious; and all papers and

proceedings heretofore fried herein shall be deemed amended accordingly; to read as follows:

SU?REME COURT OF THE STATE OF NEW YORK

COUNTY OF NASSAU

~ »~- x

SELENE FINANCE, LP Index No.: 5530!12
Piaintiff,

 

-a_ga_inst-
IEWEL L BUTLER; ADVERLIGHT COLLECTIONS, Premises Address:
INC; ALLIA;NCE FUNIQB\IG, A. DIVISION OF 46 ELDRIDGE AVE.
SUPERJOR BANK; CI'F[BANK_ SOUTH DAKOTA, HEMPSTEAD,NY 11550
NA; DISCOVER BANK-;
Defendants.

 

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ORBERED, AI)JUDGED` AND -DECREED, that the premises atYected by said
mortgage set forth in the Cornpiaint, as hereinafter described, be sold in one parcei, subject to
any real estate taxes, assessments water rents and sewer rents, redress same are due and payable
on the date of sale, or any adjourned date thereof, irrespective of the date upon which same have
become or may be alien upon the said premises; prior mortgages, liens andjudgments of record,
if any, zoning restrictions and any amendments thereto, according to law, and now in force;
subject to the state of facts an accurate survey may sbow; covenants, restrictions agreements
reservations and easements of record, if'any, and to any and all violations thereof; any and ali
building and zoning regulations restrictions and ordinances of the municipality in which said
premises are located, and violations and/or iiens of samc, including, but not timited to,
reapportionment of lot iines, and vault charges, if any; any and all orders or requirements issued
by any governmental body having jurisdiction against or affecting said premises and violations

of the same; the physical condition of any buiidings or structure on the premises as the date of

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ciosing, as purchaser assumes all risk of loss or damage .to the premises from the date of the
foreclosure sale until the date of closing and thereafter; rights of tenants or occupants in
possession, ifany; rights ofany defendants pursuant to CPLR §31?, 2003 and 5015, if any; and
other conditions as set forth in the terms of sale more particularly to be announced at sale; any
sale to be held hereunder will be subject to the rights of the United States of Amer-ica to redeem,
if any; and it is further

ORDERED A.`DJUDGED AND DECREED, that the premises affected by said
mortgage set forth in the Complai_nt herein and hereinafter set forth, be sold in one parcel, at

public auction, as provided by Law at the Calendar Control Part (CCH)‘ Courtroo_m 9__£. the

    
 

U~AAN~
S breme Court 100 Su`o`reme Court Drive Mineola. __New York 11501 by and under the
’_"_LTeland Lewis Greene Esq

direction of _“_ §70 Old Countw Road Ste. 505 __ ’_ §
Mineola, N.Y. ll${)\ ‘ '

 

mms (516`)?46-3800 `, 9 V. __m__,

Fid # 12l622
who is hereby appointed Referee, and that said Referee give public notice of the time and place

of said sale aoco_r_'d_iug”tgm_l__§§g__§udw_}§ules and Practices of this Court by publishing the Notice of

Sa]e in the ____ “E“;F§;§;g:§.?€°” o ; that the plainti§'- or any other party to this

HE_M¢$T!;_AI} Nv
action may become the purchaser at such saie; that in the event the plainti§` shall become the

purchaser at said sale, it shall not be required to make any deposit thereon; that said Referee
execute to the purchaser or purchasers on such sale a deed or deeds of the premises sold; that all
deed stamps, transfer taxes and recording fees, if any, shall be paid by the putchaser; that the
Rfe thedosttbebai ofthe o d tsownne.measRef ei
e ree n op 6 gmc 0 pr cce sro é}§ts§aé%c)gli ere n

ome/me r ll'l an lOl..A account ge

§§:::'|;’ §j’j':§o*f" and shall thereafter make the following payments dod hie checks drawn for

that purpose shall be paid by the said depository, to wit:

FI_RS-'I`: "£`h`e referee shall pay the sum of"$_?£[)t) as auditor ihisfher fee for conductiog
the saie, pursuant to CPLR §8003;

_¢ ¢- ’ '-¢ ; ~:~:1,.;: .. a " 'e 1 ll il ’l nn wu n '..' - \.°¥!'

plai tiff shall compensate the Rei`eree in the sum of $250.00 » - adjournment or

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),

cancellation unless the Referee has requested » '.- -' ay. Such compensation may be recouped

from the proceeds of sale . a post to plainti&`. This Order shall constitute the necessary prior

SECON}): 'l`he referee shall pay the costs of advertising/posting as listed orr bills
presented to and certified by the Referee to be correct, duplicate copies of which shall be
annexed to the report of sale When filed;

THIRD: The referee shall pay the sum of $ b Ol® ,,, for costs and disbursements
in- this action, as taxed 'hy the Cierk of the CourtQ,'with interest § the legal rate thereon
from the date of entry hereof; the referee shall pay the sum of 5417,657.30 as provided
pursuant to the testimony accepted by Justice Marou after trial, with interest at the rate set
in the note and mortgage thereon horn Sep\tember l, 2016, until the date of entry in this
judgment, then with interest at the statutory rate thereon until the date of transfer of the
referee's deed, or so much of the purchase money as will pay the same, and that he!she
take a receipt for said payment and tile it with his/her report of sale;

FOU"RTH: The referee shall pay the sum of $LMQ 4 ¢"” as and for attorneys fees

herein, with legal interest thereon from the date of entry of the judgment~,

FIFTH: 'l`he referee shall pay the expenses of maintaining and for the preservation of the

property, as weil as any expenses incurred in security, and any other expenses, whether made

before or after the entry of this judgment, not previously included in any computations

together with interest at the rate set in the note and mortgage from thc date of the expense to

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the date of- entry of this jodg,tnent, then with interest at the legal rate thereon until the date of
the transfer of the referee's deed, upon presentation to the referee of the proper receipts;
SIXTH: Thc referee shall take receipts for the money so paid out by hint/her and file the
same with his!her report of sale, and that lie/she deposit the-surplus moneys, if any, with the
Treasurer of Nassau County within five (5) days after same shall be received and
ascertainable to the credit of this action, to be withdrawn only upon the order of this Court,
signed by a Justice of this Couxt; that the referee make a report of such sale under oath and
tile it along with copies of the vouchers to whom the payments were made with the Clerk of
the County ofNassau within thirty (30) days of completing the sale, and executing the proper
conveyance to the purchascr; and it is further
ORI)ERED, that by. accepting this appointment the referee entities that he!she is in
compliance with Part 36 of the Rules of the Chiefledge (22 N-YCRR Part 36), including but not
limited to section 36.2(€) {"Disqualifications §om appointment"), and section 36.2(d)

"Litnitations on a ointrnents based n n com nsation"); end it is further
pp 90 Pe

ORDER.ED, A'DJUDGEI) AND DECREEI), that in case the plaintiff be the purchaser
of said mortgaged premises at said sale, or in the event that the rights of the pnrchaser, or its
assignee, at said sale and the terms of sale under this judgment shall be assigned to and be
acquired by the plaintiff and a valid assignment thereof filed with said Referee, said Referee
shall not require the plaintilf'to pay in cash the entire amount bid at said sale, but shall execute
and deliver to the plaintiff a deed or deeds of the premises sold upon the payment to said Referee
ot` the amounts specified above in items marked "FIRST" and "SECOND" and the amounts of
the aforesaid taxes, assessinents, water rents and sewer rents, and interest or penalties thereon, or

in lieu of the payment of said last mentioned amounts, upon filing with said Referee receipts of

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the proper municipal authorities showingthe payment thereof or an affidavit by plaintiff setting
forth that payment has been made; provided however plaintiff shall not be required to pay said
taxes, assessments water rents and sewer rents, unless santa are due and payable on the date of
sale, or any adjourned date thereof, irrespective of the date upon which same have become or
may be a lien upon the said premises; that the balance of the amount bid, after deduction
therefrom of the aforesaid amounts paid by the plaintiff for Referee's fees, advertising expenses
and taxes, assessments water ratesl and sewer rents, shall be allowed to the plaintiff and applied
bye the Referee upon the amounts due to the plaintiff as specified above in items marked
"TI~HR_D" and "FOURTH;" that if, after so applying the balance of the amount bid, there shall be
a surplus over and above the said amounts due to the piaintiff, the plaintiff shall pay to the
Referee upon delivery to it of the said Rei`eree's- deed, the amount of such surplus; that the
Referee on receiving said amounts from the pittde shall forthwith pay therefrom said taxes,
assessmentsl water rates, sewer rents, and interest or penalties thereon, unless die same shall
have already been paid, the Referee shall then deposit the balance in said depository as herein
above directed; and it is further

ORDERED, ADJUI)GEI) AND DECREEI}, that if the proceeds of such sale be
insufficient to pay the amount so reported due to the piaintiff with the expenses of the saie,
advances, attorneys fees, interest, costs and allowances as aforesaid the _Referee shall specify
the amount of such deficiency in the Report of Sale and that thelplamtift" recover of the defendant
JEWEL i,\BU'I`LER the whole deficiency or so much thereof as the Court may determinate be
just and equitable of the residue of the mortgage debt remaining unsatisfied utter a sale of the
mortgaged premises and the application of the proceeds thereof, provided a motion for a

deficiency judgment shall be made as prescribed by Seotion 1371 of the Real Property Actions

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and P-roceed_ings haw within the time limited therein, and the amount thereof determined and
awarded»by an Order of this Court as provided for in said section; and it is further
ORDERED, ADJUDGED AND DECREED, that the purchaser or purchasers at said
sale be let into possession on production of the Referee's deed or deeds; and it is further
ORI)ERED, ADJU])GED AND DECREED, that, each and all of the defendants, in this
action and all persons by, through or claiming under them or any or either of them, after the

filing of the Notice of Pendency of this action, be and they hereby are forever barred and

foreclosed of all right, claim, iien, title interest and equity of redemption in said mortgaged

  

 

 

foreclosure act:r;§hcpreire‘r€- t'eree is awarded a non-reftmclable processing fee of 3250.00 (see CFL'R
; ` ` r

\
ORDERED, AD.TUDGED, AND DECREEI), that the referee appointed to sell herein

    
 
   
   
   
  
   

be served with a signed copy of this Judgment of¥oreclosure and Sale with Notice of Entry; and

it is further
\

ORDEREB, ADJUDGE}), AND DECREED, that thc referee shall tile a copy of the
Notjce of Sale with the Cleri<;’s Ofi`ice in Room 152 of the Supreme Court'at least 10 days prior
to the advertised auction date; and it is further

OR.l)EREI), that paragraph 5 of the complaint and the notice of pendency be deemed
corrected nunc pro tunc to May i, 2012, to state that the lot numbers of the subject property are
231-233; and it is further

A description of the real property under foreclosure is annexed to this Judgment and

made a part thereof as Schedulc "A.';_ Qr'f\> rt ij b{,{~h\£),(

 

 

 

ORDERED» ‘h€“ P“”“a“* ‘° C"LR 3003 ‘b}= d oRr)eaeo, that me screws is petitioned d
absent appiication m 1tie court, further court order. and nom accepting m retaining any funds gm women
compliance with Part 36 ofthe Rales ofthe Chact c sr paying any funds m himsc!fwnhom

~ ' ' c tot rccew _ ` >
lmge`,l?'¢ Rd€m sh?"fn;.l dem;;::`:s:ppayabic m compliance tvtth Part 36 of the Rules OF the Cittef
mmcilmu me ammm c ` Atlministratwe lodge

the Rel'cree for the foreclosure sale slage. regerdiess ot`
-d£oummenl, delav or stay ofthe ssie’:,. end it is lurlher

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Said premises being known as and by street address: 46 ELDR_EDGE AVE,

HEMPSTEAD, NY 11550, and beariag tax map designation: Sectiori: 34 Bloci<: 363-Lot: 231-
233.

Dated:

'Atm 24_2017.

 

 

/“M _ §__Q.. Q_Obm§;§g/

@)
esreaeo

SEP 06 2017

NAssau coumv
COUNTY CLERK'S OFFicE

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thenceWESTBRLYin a` line parents ‘aith-Eidtid\ge.i§v_e:_ztrei 60 f¢z;-;

thence NGRTHERLY again at right angles tel Eldndgc Avenue', 1G0 feet to the southerly side cf
Etdndge jA_ver‘u:e; .,

theme EASTERLY citing the southerly si’d`e_ of EIp'.z-idgc Aveeea, 6b {'¢ef to die point or place of
- `BEGINNING,»

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SUPREME COUR'I` OF 'I'HE STATE OP NEW YORK
COUN:TY OF‘NASSAU

 

 

--,- --------------- ~- x
SELENE F}NANCE, LP
Plaimii¥, l
~against-
JEWEL L BUTLER, et al.,
Defendants.
` . . . x
Costs after trial,

CP g §§201(1);2) and(_z).............................................$700.00
Additiona.l Allowance by Stamte - CP_LR §8§02{§)`[§):

addl.(not exceeding $200) $200 ai ]0%...$2(}.00
add].(not exceeding $800) $800 at 5%...$40.06
" (not exceeding $2000) $2000 at 2%...$40.00
" (no; exceeding 35000) 55000 ar 1%.,.$50.00..........$150.00 .

 

Additional Aliowance by Statute ~ QRLR-: '83_02_ 16 ......$50.00

FEES AND DISBURSENIENTS
Fee for Index Number and Filing Lis Pendens
CPLR 89¥3(3), 8021(3)(12) .......................................... $520.00
Paid for searches ........................................................... - .
Scrving copy of summons and complaint 500 UO
CPLR 3011(¢), 8301(<1)$1.,09&~99~» 19
Request forJndi¢ial mervenrzon....,................,,...........$95.00 215
Certified copy of judgment ........................................... S¢$.OG

Motion fees ................................................................... $90.00

Index No.: 5530/12

COS'{`S OF PLAINT]FF

 

Clerk's fee, re-iiiing notice of`pendenc-:y....,.................$l95.00
$30.&-30' OSq 19

Tmnscript of trial testimony

'I`axed az$ _ _,this day of

 

Clerk

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.-_,- v
...._ `_

S"L'A'l-‘E op NEW YORK )
) Ss:
COUNTY OF DU'E`CE[ESS )

'I`];\c undersigned, an attorney admitted to practice in the Courts of this State, affinns that
he ts an associate of the law fi_r_m of ROSlCI{l, 'ROSICKI &' ASSOCIA_TES, P.C. the
attorneys of record fpr the plaintiff in the above#ent_it_l_ed action; that the foregoing disbursements
have been or will necessarily be made or incurred i'n this action and arc reasonach in a._;_nount and
that copies of documents or papers as charged herein were actually az,;d necessarin obtained for
use.

Tbe‘ undersigned affirms that the foregoing statements are true under the penalties of
P€n`ury-=:

Date-d: Octobér 4, 2016
P‘tainview, New York

 

46 ELDR]DGE AVE, H£WSTEAD. NY 11550

 

 

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Exhibit “C”

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UNITED STATES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK
................................................................ x

IN RE: Chapter 7

fewel L. Butler, Case# lB-?IOZS-rcg

 

 

RELIEF FR()M STAY - REAL ES'E`ATE AND
CUOPERATIVE APAR'I`M§BN"I`S

 

BACKGROUND INFORMATION

i. ADDRBSS OF REAL PROPERTY OR COOPERATIVE APARTMEN'§: 46 Btdridge Avenue, Hempstead,
New York 1155[}

2. LENDER NAME: Seiene Pinance LP

3. MORTGAG§ DA'I“E: 1 1/26/2002

4.P03T~P)3?1T:0N PAYMENTADDRESS: P.O. Box 71243 Phitade!;)h§a, PA 19176-6243
DEBT AND VALUE REPRESENTATIONS

5. TGTAL PR§-PET[TION AND POST~PETITION rNDEBTEDNl;SS c)F DEB'FOR(S) TO MOVAN? AT

'1'1~1!3 TIME 09 FIL:NG 'rHE MOTZON: $503 201.73 as of 5/!/2018

(Tms MA Y NOT 35 R_EL/ED UPON AS A "PA )'OFF" Quom F‘ION, )

6. MovANT’s ESTIMATED MARKET vALUS OF ”H'IE REAL PROPERTV <)R COOPERA'!WE
AFARTMENT AS OF THE MO?ION Fu,.ING DATE: $ 195 000.00

 

7 . SOURCE 011 ESTfMA'l‘ED MARKET vA;,uE: Schedute A/B
STATUS OF THE DEBT AS OF 5/1/2018

8. DE.BTOR(S)’S INDEBTEDNESS TO MOVANT AS OF 511/201 82

A. TOTAL: $503,201.73
B. PRINCIPAL: $207,645.36
C. INTEREST: $l 13,203.74
D. ESCROW (TAXES AN";) INSURANCE): l5;151,303.82

E. FORCED PLACED INSURANCE EXPE,ND§D BY MGVANT: $0.00

 

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$19,032.25
$4,375.26

F. PRI:`-PETITION A'E'I'ORNEYS’ FEES CIIARGED TO {)EB’]`OR[S).‘

G. PRE-PETITION l.A`I`E I"['.`ES CilAR.GED T() DE.B'I`()R(S):

9. CONTRAC‘I`§)AL INTEREST RATE: 7.00000%

(IF YHE JNTERESY“ RA Y‘E HAS CHANGEDJ LIST THE RATE(S; AND m TE(S) THA T EACH R,/§ TE WAS m EJQ'FECT
ON A SEPARA TE SHEET AND AY;"A CH mg SHF.ET AS AN EXHMT TO mls FORM.. STA 125 THE EXHm/T
NUMBER HERE.» N/A.)

fO. O'I'HER PRE-PETITION FEES, CHARGES OR AMOUNTS CHARGED T() DEBTOR(S)'S ACCOUNT AND
NOT LIS'I`ED ABOVE,§

Foreclosure Costs: $1,132.84; Postage Chartzes: $41.97; Sale, Costs: $488.()8; Title Fees;
$993.91; Court Costs: $1,145.00; Attc)t'ney Costs: $2,207.50; Proper'ty Inspectic)n Fees:

§1,127.00

(IF ADDHTONAL SPACE IS R.EQU!RED, LIST THE AMOUNT(S) ON A SEPAIM TE SHEETANDATTA CH THE
SHEETAS AN EXHIB]T TO TH]S FORM_ STA TE THE EXH}B]T NUMBER HERE.' N/A.)

 

AMOUNT OF POST-PETITION DEFAULT AS OF THE MOTION F§LING DATE
1 1. i)A'rE 01-‘ RECEH»T 0F LAST PAYMEN'I`: No Post~Petition Payments Received

12. NUMBER OF ?AYMENTS DUE FROM PETITION DATE TO MGT[ON 1~` IL,IN G DA'K`E: 2 PAYMENTS. * *
Account contractually clue for 1 111/2009

13. POS?~PBTITION PAYMENTS lN DEFAZ)’LT:

 

 

 

 

 

 

 

 

 

 

 

 

 

PAYMENT AMOUNT ""`AMGUNT AMOUNT AMOUNT AMOUNT LATE FEE *`
mm DAT£: DUE RECEWED APPLIED APPLIEI) APPLHLD CHARG ED
To To 'rt)
PRINC;PAL 1NTEREST ESCROW
311/2018 $3,009.98 $0.00 $0.00 $0.00 $0.{)0 $0.00
411/2018 $3,009.98 $0.00 $0.00 $0.00 $0.00 $0.00
TOTALS $6,019.96 $0.00 S0.00 $0.00 $0.00 S0.00
14. OTHER Pos'i“-PET[TEON FEES CHARGBD To DEBToR(S};
A. TOTAL: 1193 1 .00
B. AT'F<)RNEVS= FEBS zN CQNNECTION wITH ?HIS MOTI<)N: $750.00
C. FxLING PEE IN CONNECTEON wl'rH THlS MOTION: $181.00
D. OTHER POST_PETIT§ON AT'!‘ORNEYS’ FEES: $G.OG
E. POS?~PETITION INSPECTzON FEES: $0.00
F. posT-PF.HTI<)N APPRA:sAL/BROKER'$ Pruc§ 0PIN:0N FEES; $0.00

 

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G. FQRCED PLACED INSURANCE EXPHNDED BY MGVANT: $0.00

15. AMOUNT HELD YN SUSPF.NSF€ BY M{)VAN`§`: $0.00

16. OTHER POST»PETIHON FESS, CHARGES c)R AMOUNTS cHARGED re DEBTOR($)'S ACCOUNT AN);)
NGT LISTED 1430sz $0.00

(IF ADDIT!ONAL SPACE IS REQU}RED, L!ST THE AMOUNT[S) ON /1 SEPARA TE SHEETANDA TI`A CH }"HE
SHEET AS AN EXH!BIT TO THIS FORM. STA TE ]`HE EXHJBITNUMBER HERE: N{._/__t.)

 

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REQUIRED ATTACHMENTS 'I`O MOTION

PLEASE ATTACH THE FOLLOWING DOCUMENTS T() 'E`HIS MOTION AND lNDlCATE THE EXHIBIT
NUMBER ASS()CIATED WI'I`I~§ EACH {JOCUMENT.

(1)

(2)

(3)

COPIES O§" DOCUMENTS 'l`HAT ESTABLISH MGVANT’S [N'I`ERES'I` fN THE SUBJECT PR{}PF.RTY.
FGR PURPOSES GF EXAMPLE ONLY, THIS MAY BE A COMPLETB AND LEG§BLE COPY OF TIIE
PROMISS()RY NO'J`E OR OTHER DEBT INSTRUMENT TOGET}'D;‘R WI']`H A C()MPLZ£TE AND
LEG}BLE COPY OF THE MOR'[`GAGE AND ANY ASSIGNMBN'I`S IN 'I`HE CHAEN l"ROM THE
ORIGINAL MORTGAGEE TO THE CURRENT MOVING PAR'I`Y. (EXHIB]'§` A .}

COPIES OF DOCUMENTS 'FHA'}' ESTABL.ISH MOVANT’S STANDING 'FO BR}NG "I`HIS MOT]ON.
(EXH!BZT A .)

C(JPIES OF DOCUMEN'}`S '1` HAT ESTABLISH THA? MOVAN'E"S [NTEREST IN THE REAL FROPERTY
(}R COOPERATEVE APARTMENT WAS PSRFECTE.D. FOR THE l’URPOSES OF EXAMPLE ONL,Y,
THIS MAY Bl£ A COMPLETE AND LEGIB§,,E COPY OF THE FINANCING S'l`ATEMENT (UCC-!) FII,ED
WI'I`H THE CLER_K’S OFFICE OR 'Z`HE REG!STER OF THE COUNTY IN WHICH THE PROPERTY OR
COOPERA"HVE AF‘AR'I`MENT IS LOCA'I`ED. (EXI'HBZT A .)

 

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DECLARATION AS 'I`O BUSINESS RECORDS

1 l fe t z d `~;~H§ Bankruptcy Managar _OF
Selene Finance LP, HBREIN, D§CLARI`?, PURSUANT 23 tj.S.C. SECTION 1746 UNDER PBNALTY 011
PERJURY ':‘HAT THE INFORMATION PROVLDEI) m rst r~‘ORM AND ANY EXHLBITS A'c"rACHl;D HERETG
(OTHER TI-IAN THE TRANSAC?IONAL DOCUMENTS A'rrACHED AS R_EQUIR,ED BY PARAGRAPHS a, 2 AND
3, ABOVE) 13 DERWED FROM RECORDS THAT wERF, MADF. AT ok NEAR THE T:ME oF THE

OCCURRENCE OF THE MATI"ERS SET FORTH BY, OR FROM ENFORMA'¥ION TRANSMITTED BY, A
PERSON WITH KNOWLEDGE Ol" THOSE MATI"ERS; TI~IA'I` THE RECORDS WERE KEP'[` IN THE COURSE OI*`
TH};` RBGULARLY CONDUC'I`ED AC'l`IVlTY; AND THA'I` THE RECORDS WBRE MADE IN TZ-§E COURSE OF
'I`HE REGULARLY CONDUCTED AC'I`IVlTY AS A REGULAR PRACTICE.

1 FURTHER DECLARE 'I`}~lA'[` (`,`OPIES OF ANY TR.ANSACTIONAL DOCUMENTS ATTACI'[ED T()
'E`H]S FORM AS R]:IQUIRED BY PARAGR_APHS ], 2 AND 3, ABOVE, AR£ TRUE AND CORRECT COPlES 017
'f`HE?. ORIGZ`NAL DOCUMBN'I`S.

 

 

EXBCL)TED A'r ` \ P\
ON THIS WA\L\DP _Q§¢p;\_.§.§_________
2018
-Q ,
<NAME> Lesh'e l_eanhart U \ (j 7
<TITLE> Bankzuptcy Man&g€?

Selene Finance LP
9990 Richmond Ave, Suite 460
South Houston, TX 77042

DECLARA'I`ION

Mana er
I Leslie Leanhart THE Barzkruptcy g OF

Selene Finance LP, H:ER£lN, DECLAR§ PURSUAN? 28 U.S.C. SEC'FION 1746 UNDER PENALTY OF
PERIURY THAT THE FOREGOING IS TRUE AND CORRECT BASI~:D GN PERSONAL :<NOWLE§JGE OF TH§£
MOVANT’S BOOI<.S AND BUSI'NESS RECORDS.

EXECUTED A §

ON THISZ}"_“B Y oF
2018 Ym»,t_(//`S{ga/p/W§!

<NAMI;`,> Les!ie Leanhart
<T§TLB> Bankruptcy Manager
Selene Pinance LP

9990 Richmcmd Ave, Suite 400
South Houston, TX 77042

 

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Exhibit “D”

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Case 8~18»71028-1@9 Doc 1 Filed 02/16!,18 Enterecl 02/16/18 15:00:59

Fill in thic:in'l_o motion to ioeritify`your misc a`o_d this |§ng;'

 

 

 

 

 

gcsmse.lm:mgl "'F"i;;m'.;.i;ig"""' ~ M,m,,'é'Ngr'n'e~~~~~ 7 - ----§é.smm

§DebloH Jewe| l_. Butler
1 Flrsl Name o Middlo Name ' 7 Lasl blame ;
l Debtor 2 7 7 , __ _

5 Umtec€ States Bankruplcy Court for the: 777EA7S`FERN D|STR|CT OF Nl§WYORK 7 7 7 77 77 7 7

7Case number 7_ 77 77 _ |:} Check if this is an
amended filing

Offic§al Form 106/-\/8
Schedu|e AIB: Property ms

ln each catagcry. separately list amf describe items. List an asset only once lf an asset fits in more than one category, list the asset in the category where you think
it f§ts best. Ele as comp!ete and accurate as possibie. l§ two married people are filing together, both are equaliy responsible for supplying correct information ll
mora space is needed, attach a separate sheet to this form On the top of any additional pages, write your name and case number [i! known}. Answer every question.

P_é_rt fl;-' Describe Each Resicence. Builciing. Laod, or Dther Rea| Esta\e You Own or Have 1111 lnterest la

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or simifar property?

w No. Gn to Part 2.

l Yes, Where is the property'?

 

 

 

 

 

1.1 Whal is the pruperty? Check all that apply
45 Eldr'dge AVem*@ - Singie-fami|y home Do nol deduct secured claims or exemplions. Put the
Slreel address. ll available, cr other descrlpllcm m oup[ex m multi_vmt building amounl 01 any seCuF€Cl Claim$ Ol`l SChECFu/E.= D
C)edrl'ors th) Havc Cla:ms Secured by Properzy.
m Condomlnium or cooperative
C] Manolactorec or mobile home
Curzent value of the Current vaiue 01 the
Hempstead NY 11550-0000 [:] Land more propeny? person you owo?
City SKEte Z!P CDG€ [;l |nvestmenl property $195,000.00 $195,000.09
m Tlmeshage DBScr§be the nature of your ownership interest
[:] Olher 7777 777777777,77",7777iwv_*777_m gsuch as see simple, tenancy by the entireties. or
Who has an interest in the property? cnec,k one a me esmel! '1"“°“'"~
l Debtor 1 only
Nassau l;| Demor 2 only
COW“¥ m Debtor l and Debtor 2 only

Check if this is community property
m At least one of lhe debtors and another m twa lnS\'\w\>vf\Sl

Other information you wish to add about this item, such as local
property identification number:

 

2 Adcl the dollar value of the portion you own for ali of your entries from Parti. including any entries for 195 000 00
pages you have attached for ParH. Write that number here..... .. ... .. ... ... => $ '

m Describe Your Veh§c!es

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? |nclude any vehicles you own that
someone etse drives. Ef you lease a vehicle. also report it on Scheclule G: &`xecutory Ccntracts and Unexpired l_eases,

 

 

Officea| Form 106A1§3 Scbeciu|e NB Proper‘sy page 1

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Debtor 1 __dewe| l... Butler Case number m knot/1111

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 
   
 

 

 

 

isee instructions)

m No
n Yes
371 7 ']'0 ma » t ts ? Ch k Do not deduct secured claims or exemptions Pot
Make ______y____. ., who has an m ems m the property ec fm tne amount of any secured claims on Scheo‘uie D
Mooet: C l Debtnr 1 only Credltors Who Have Cierms Ser:ureo‘ by Propen‘y.
¥ear; 53 DE”“" 2 only Current value of the Cu:‘reni value of the
Approx`lrnate mileage 7777*71778§,07[7)70 f`_`] gamer 1 and DE[-_.io; 2 only entire property? portion you own?
011-tar information l:l At least one of the debtors and another
l
l l:] C¥tecl\ if this is community property $300.00 5300.99

 

4_ Watorcraft, aircraft, motor homes, ATVs and other recreational vehicles. other vehicles, and accessories
E)rampies: Boats_ trailers motors, personal watercraft fishing vessels snowmob\ies, motorcycle accessories

l No
l:] Yes

5 Add the doi|ar value of the portion you own for oil of your entries from Part 2, including any entries for
pages you have attached for Part 2. Wr'tte that number here ......................... .. ..

  

$300.00

 

Describe Your Personai and Household items
90 you own or have any legal or equitable interest in any of the following items? Cur,.em wine of thé"""' "
portion you own?
Do not deduct secured
claims or exemptions

 

6. Household goods amf furnishings
Exampies: Major appliances furniture |inens, china kitchenware

m No
l Yes. Describe .....

 

 

§MMisc. Householcl Goo€ls and Furnishings 77 7751777§§7-9°

 

'1'. Eiectronics
E)ramples: Teievisions and radios; audio video stereo4 and digital equipment computers printers scanners; music collections electronic devices
including colt phones cameras, media players games
E No

l Yes. Describe .....

 

 

l Misc- Efect_t_<>nics m 777 7 _____ ____§3__5_9_-99

 

 

B. Coilectibles of value
Exampies: Antiques and figun`nes; paintings prints or other artwork; books, pictures or other art objects; stamp coin, or baseball card collections
other collections memorabilia, coliectibies

l No
|:] Yes. Describe .....

9_ Equiprnent for sports and hobbies
Exam,oies Sports photographic exercise and other bobby equ pmeni bicyc$es pool tables go|tc|obs ski;s canons and kayaks carpentry tools
musical instruments

l No
l:l Yes. i`.}escribe..__7

‘it)1 Firearms
Examples: ¥’istols. titles shotgunsl ammunition and related equipment

l No

l;} Yes. Describe .....
Orlicial Forrn 'ESGA,'B Schedu|e AjB: Property page 2
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Deotor‘l Jewel L. Butler t ease number omnme o ,,

11. Ciothes

Examp»'es: Everyday clothes, furs, leather coats, designer wear, shoes. accessories
m No

- Yes. Descri`be,i.,.

 

 

j',":"i§r-t_, Wearing Ap_perel __

 

__; , ,, , ,, §?§9:99,

 

 

12, Jeweiry
Examples: Everyday jewelry costume jewelry engagement rings wedding rings, rieirloom jewelry, watches, gems, gold, silver

l:l No
l Yes. Descrioe‘....

liviisc. Jewelry ` ` ‘ umw___Mnw§§so.i)i)

 

13. Non-farm animals
Examples; Dogs_ catsi birds` horses
m No

n Yes. Descrioe .....

 

3 cats, ` __ 5°-09,

 

14. Any other personal and househoid items you did not already iist, including any health aids you did riot list
. No

m Yes. lee specific iniormatiori.....

15 Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3 erte that number here. ...` ... v 77 $2-209-00

 

 

Descr`ibe Your F§naricial As§e£s

Do you own or have any legal or equitable interest in any of the following'? Current value of the
portion you own?
Do riot deduct Secured
claims or exemptions.

 

16. Cash

Exarnple$: lyloney you have in your wai|et, in your horne iri a safe deposit box` and on hand when you file your petition
|:] No

CaSh ___\\ ,,,,,, ,,§5;99,

17_ Deposits of money

E)ram,oies: Checl<lng` Savio§;s. or other financial accounts certificates of deposit shares in credit uniohs, brokerage housesl and other similar
institutions ll you have multiple accounts with the same institution list each

 

 

 

 

l:l No
l res ....................... !"Sl‘m“m name
‘&7.1. Checking City National Hempstead NY {5371) $0.00
17424 Sayirigs Peoples Unitecl, Hempstead, NY (2848) $1.500.00
Oliiclal l-”orm tGSA!B Schedule AIS: Propeity page 3

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Debtor t Jewel i_. Butler mm Case number iM"OW") 1

18. Bonds, mutuat tunds, or pubiicly traded stocks
Examples.' Bond funds investment accounts with brokerage firms money market accounts

l No
m Yes .................. institution or issuer harne:

19. Non-pi.rblicly traded stock and interests iri incorporated and unincorporated businesses, inciuding an interest in an L.LC, partnershipl
and joint venture
l No

m Yes. Give specific information about them ...................
Narne of entity: % ot ownership

20. Government and corporate bonds and other negotiable and non~negotiable instruments
Negotiat)ie instruments include personal checks cashiers checks promissory notes, and money orders.
Non-negoriaoie instruments are those you cannot transfer to someone by signing or delivering them.

.No

m Ves. Give specific information about them
issuer name

21, Retirement or pension accounts
Exarnpies: interests in lRA. ER|SA` Keogny 40t(k)\ 403(b). thrift savings accounts or other pension or profit-sharing plans

C]No

f Yes. List each account separately
Type of account institution name:

Pension NYS Teachers Retirernent Account t.inknovvr_i_

22. Security deposits and prepayments
¥our share of ali unused deposits you have made so that you may continue service or use from a company
Examp.'es: Agreements with landlords prepaid rent public utitit:`es (electric4 gas, water). telecommunications companies or others

l No
[.'_l Yes_ _____________________ |nsiitution name or individual:

23. Annuities {A contract for a periodic payment of money to your either for life or for a number ofyears)

l No
m Yes _____________ issuer name and descriptionl

24. interests in an education |RA, in an account in a qualified ABE.§E program, or under a qualified state tuition program.
26 U.S.C. §§ SBO(b)(t), 529A(b)` and 529(b)(1)i

l No
[:} yes _____________ institution name and description Separate|y tile the records of any interestsiit tJiS.C. § 521{<:):

25_ Trusts, equitable or future interests in property iother than anything tisted in line 1}, and rights or powers exercisable for your benefit

l No
m Yes. Giye specific information about themi..

26. Patents, copyrightsl trademarks trade secrets, ancf other intellectual property
Exarnpies: lnternet domain names Weosites` proceeds from royalties and licensing agreements
l No

[:l Yes. Give specific information about them...

2?. t.icerises, franchises and other general intangibles
Examplesi Builcting permits exclusive licenses cooperative association ho§dings, liquor licenses professional licenses

l No

[:l Yes. Give specific information about them...
Money o_r property owed to you?_ _- -_ _ - -_1 _ ' :_:f_;.j-. f ._ ' ` ; '- f `; -.Current value ofthe

`. _ - :-. - .`-_portionyouown?
` Do not deduct secured
claims or exemptions

Oiticial Form tGBAi'B Schedule AIB: Property page 4

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Debi°f q ,J€,W$,',,l:- BHE_'_?F......___....__ ,. _. ...... . .. _ ease "Um*?@ff'fim“""i

28. Tax refunds owed to you
g No
l Yes. Give specinc information about them including whether you already filed the returns and the tax years .......

 

 

Anticipated 2017 tax refund Federai & State $500. 00

 

 

 

 

29. Famiiy support
Exarn,oles: Past due or lump sum alimony spousal support chlid support maintenance divorce settlementl property settlement

l No
iIi Yes. Give specific information ......

3d Other amounts someone owes you
Examples: Unpaid wages disability insurance payments disabi¥ity benefits sick pay, vacation pay. workers compensation Socia| Security
benefits; unpaid loans you made to someone else

l No
l'.:] Yes. lee specific informations

31` interests in insurance policies
Exampies: Health` disapility, or tire insurance health savings account (HSA): credit homeowners or renter`s insurance

-No

l'_'] Yes. Name the insurance company of each policy and list its value
Cornpany name Beneficlary: Surrender or refund
vaiue'

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust. expect proceeds from a life insurance policy or are currently entitled to receive property because
someone has died

l No
E.`.i Yes. Give specific information..

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Exampies: Accidents, employment disputes, insurance C|airns, or rights to sue

l No
ij Yesl Describe each ciaim.l.,i.,,i

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off ciairns
l No
E} Yes. Descnne each claim .........

35. Any financial assets you did not already list
l No
l:] Yes. Give specific information..

 

36. Add the doilar value of all of your entries from Part 4, including any entries for pages you have attached l
for Part 4. Wriie that number here... . .

   

 

Desr.ribe Any Business‘Reiated Property You Own or dave an interest ln. List any real estate in Part 1.

 

3?. i]o you own or have any iegai or equitable interest in any business-raided property?
. No. Go to Part 6.

[:i ‘r'es. Go to line 38.

Elescribe Any Fan~n- and Cornrnerclal Fishing-Related Property You Own or Have an interest ln.
ii you own or have an interest in tam'tlandl list ll in Pan t.

 

 

46, Do you own or have any legal or equitable interest in any iarm- or commercial fishing-rotated property?
l No. Go to Part 7.

Cltficial Form 106.¢\.'¥3 Schedule A!B: Property page 5

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Debtori jewel L. Butler

 

 

[:.] Yesr Go m line 4?.

Describe Ai| Proper%y you Own or Have an interest in That You Did Not List Ahove

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53. Do you have other property of any kind you did not already iisi?

54,

 

55.
56.
57.
58.
59.
€:`>O.
61.

62.

63.

Examp!es: Season iickeis. country club membership
l No
l:] Yes. Give specific information .........

Acfd the doliar va!ue of all of your entries from F>art 7. Wriie that number here

:-.: Lisr the ¥otais of Each Part of this Form

 

 

 

Part 1: Totai real estate, line 2

parr 2: Totai vehicles, line 5 W,,,,,,,,,,§YQ,~,QQ

Part 32 Total personal and household items, line 15 $2,200_,_[_}_§}__
Par‘t 4: Totai financial assets, line 36
Part 5: Total business-related property, line 45

Part 6: Total larm- and fishing-related property, line 52
Part `?: Tota| other property not iisted. line 54

 

Tofa| personai property. Add lines 56 through Ei... n $WQL§Q§.L

‘i°otal of all property on Schedu!e NB. Add line 55 + line 62

Off`ic`lal Form ‘iDBAfB SChEdl.iiE AfB\ Pmperiy

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page 6

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